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                        THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 COMMONWEALTH OF PENNSYLVANIA

                     Plaintiff,                         Civil Action No. 2:17-cv-4540 (WB)
 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.

                     Defendants.



                                        STATUS REPORT
         On August 2, 2021, the Court entered an order staying this case and instructing Federal

Defendants to file a status report on or before October 29, 2021 and every 90 days thereafter.

ECF No. 281. And on January 3, 2022, the Court issued an order directing that the case remain

stayed, and that Federal Defendants file a status report on or before January 27, 2022, and every

90 days thereafter. ECF No. 283. Federal Defendants report the following:

      1. This case involves a challenge to final rules the defendant agencies issued in 2018

         expanding the prior religious exemption to the contraceptive coverage requirement and

         creating a new moral exemption. See Religious Exemptions and Accommodations for

         Coverage of Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,

         2018); Moral Exemptions and Accommodations for Coverage of Certain Preventive

         Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).

      2. This Court entered a preliminary injunction; the judgment was reversed and remanded by

         the Third Circuit on August 21, 2020, following the Supreme Court’s decision in Little

         Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020).



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3. This Court has before it fully briefed dispositive motions. See, e.g., ECF Nos. 252, 254,

   255.

4. On July 30, 2021, Federal Defendants filed a motion asking the Court to stay the case to

   permit them to evaluate the issues presented by this litigation, as well as their regulatory

   and policy options. ECF No. 279. The Court had previously granted two other similar

   motions made by Federal Defendants. See ECF Nos. 271, 275.

5. On August 2, 2021, the Court granted Federal Defendants’ motion and entered an order

   staying the case. ECF No. 281. In that order, the Court also instructed Federal

   Defendants to file a “status report on or before October 29, 2021, and every 90 days

   thereafter.” Id.

6. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of Health

   and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6

   months to amend the 2018 final regulations and obtaining public input will be included as

   part of the Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions,

   Affordable Care Act Implementation FAQs (Set 48) (Aug. 16, 2021) (available at

   https://www.cms.gov/CCIIO/Resources/Fact-Sheets-and-FAQs#Affordable_Care_Act).

7. On January 3, 2022, the Court issued an order directing that the case remain stayed, and

   that Federal Defendants file a status report on or before January 27, 2022, and every 90

   days thereafter. ECF No. 283.

8. Federal Defendants filed their last status report at the end of October 2022. Federal

   Defendants reported that they were continuing to work with OIRA to prepare the Notice

   of Proposed Rulemaking (NPRM) for publication as quickly as is possible consistent with

   ongoing resource limitations and prudent decision-making.



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   9. Federal Defendants have informed undersigned counsel that during the past 90 days, they

      have continued to revise the draft NPRM in response to comments received through the

      interagency review process under E.O. 12866, and that they intend to publish an NPRM

      after that review process concludes.

   10. Federal Defendants propose that the case remain stayed and that Federal Defendants

      continue to file status reports every 90 days to apprise the Court of the status of the

      rulemaking and their position on the need for a continued stay.

   11. Plaintiffs have advised that they do not oppose keeping the litigation in its current

      posture.

Dated: January 23, 2023                      Respectfully Submitted,
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